                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                                       No. 3:08-CR-93-BR

UNITED STATES OF AMERICA,                              )
                                                       )
               v.                                      )               ORDER
                                                       )
BRYAN S. KOS                                           )
DAVID A. HAGEN                                         )

       This matter is before the court on the government’s motion in limine to admit foreign

business records. In response, defendant Hagen filed an objection and motion to suppress.

Defendant Kos adopts the motion to suppress. The government filed a reply. Thus, the matter is

ripe for disposition.

       The government seeks to admit foreign business records by certifications pursuant to 18

U.S.C. § 3505. This statute provides in pertinent part:

               In a criminal proceeding in a court of the United States, a foreign
               record of regularly conducted activity, or a copy of such record, shall
               not be excluded as evidence by the hearsay rule if a foreign
               certification attests that--
               (A) such record was made, at or near the time of the occurrence of the
               matters set forth, by (or from information transmitted by) a person
               with knowledge of those matters;
               (B) such record was kept in the course of a regularly conducted
               business activity;
               (C) the business activity made such a record as a regular practice; and
               (D) if such record is not the original, such record is a duplicate of the
               original;
               unless the source of information or the method or circumstances of
               preparation indicate lack of trustworthiness.

18 U.S.C. § 3505(a)(1). A “foreign certification” under the statute is “a written declaration made

and signed in a foreign country by the custodian of a foreign record of regularly conducted activity

or another qualified person that, if falsely made, would subject the maker to criminal penalty under




    Case 3:08-cr-00093-FDW-DCK              Document 33         Filed 11/25/08       Page 1 of 6
the laws of that country.” Id. § 3505(c)(2). The certification serves to authenticate the foreign

record. Id. § 3505(a)(2). The government attaches to its motion a number of certifications

purportedly executed in accordance with § 3505.

       Defendants argue that the certifications lack sufficient indicia of reliability and admission

of the business records they certify would therefore violate defendants’ right to confront witnesses

under the Sixth Amendment. As a result, defendants contend, the court should exclude the foreign

business records or, alternatively, permit defendants to depose the foreign record custodians. It is

significant to note that defendants do not otherwise challenge the admissibility of the underlying

foreign business records.

       In addition, it is noteworthy defendants do not claim that the certifications do not meet the

requirements of § 3505(a)(1)(A)-(D). Rather, defendants point to a number of “defects” with the

certifications. The certifications’ “defects” can be summarized as follows. There is no statement

that the signer understands the English language. No certification includes an official seal (such as

that of a notary) to indicate that the certification was sworn, affirmed, or witnessed. One

certification appears dated prior to the time period at issue. Two certifications are undated. No

certification contains a statement describing the records attached.

       The court starts its analysis with the Confrontation Clause and specifically its protections to

accused. The Clause provides that “[i]n all criminal prosecutions, the accused shall enjoy the right

. . . to be confronted with the witnesses against him.” U.S. Const. amend. VI. It bars the “admission

of testimonial statements of a witness who did not appear at trial unless he was unavailable to testify,

and the defendant had had a prior opportunity for cross-examination.” Crawford v. Washington, 541

U.S. 36, 53-54 (2004).


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    Case 3:08-cr-00093-FDW-DCK               Document 33         Filed 11/25/08      Page 2 of 6
               [A] statement must be “testimonial” to be excludable under the
               Confrontation Clause.
                        While the Supreme Court has yet to spell out a comprehensive
               definition of the term “testimonial,” it has provided guidance as to its
               meaning. To begin, in Crawford, the Court set forth three
               formulations of the “core class of ‘testimonial’ statements”: One, “
               ex parte in-court testimony or its functional equivalent- that is,
               material such as affidavits, custodial examinations, prior testimony
               that the defendant was unable to cross-examine, or similar pretrial
               statements that declarants would reasonably expect to be used
               prosecutorially”; two, “extrajudicial statements ... contained in
               formalized testimonial materials, such as affidavits, depositions, prior
               testimony, or confessions”; and three, “statements that were made
               under circumstances which would lead an objective witness
               reasonably to believe that the statement would be available for use at
               a later trial.” As the Court in Crawford pointed out, these three
               formulations of the “core class” of testimonial statements share a
               “common nucleus.” All three of these formulations indicate, twice
               explicitly, that the “common nucleus” of the “core class” of
               testimonial statements is whether a reasonable person in the
               declarant's position would have expected his statements to be used at
               trial- that is, whether the declarant would have expected or intended
               to “bear witness” against another in a later proceeding.

United States v. Udeozor, 515 F.3d 260, 268 (4th Cir. 2008) (citations omitted).

       The court has located only one decision, post-Crawford, addressing a Confrontation Clause

challenge to the certification of foreign business records. In United States v. Qualls, 553 F. Supp.

2d 241, 245-46 (E.D.N.Y. 2008), the district court concluded “that the authentication of foreign

business records pursuant to § 3505 does not violate the Confrontation Clause.” It relied on circuit

decisions rejecting Crawford challenges to certification of domestic business records and on

Crawford itself. Its analysis is worth repeating here.

               In the context of traditional hearsay exceptions, the Supreme Court
               noted that business records “by their nature were not testimonial.”
               The court cannot envision that the Supreme Court expressed
               continued support for the admission of a category of records yet
               prohibited the admission of records necessary to authenticate them.
               Moreover, in complex cases such as this one, that involve the

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    Case 3:08-cr-00093-FDW-DCK              Document 33         Filed 11/25/08      Page 3 of 6
               admission of business records from numerous sources, including
               foreign entities, a holding as Defendant suggests would dramatically
               decrease judicial efficiency at minimal or no gain to the truth-seeking
               process. This is particularly true in light of today's global economy
               and the facilitation of international financial transactions by the
               advent of modern technology such as the internet. The government
               would be required to call a live witness or to accompany the
               defendant on a deposition abroad to lay the foundation for the
               business records of each foreign entity it sought to introduce. Such
               procedures for admission of foundational evidence would swallow up
               the efficiency gained by the exception.
                       The court recognizes that § 3505 certifications are, at least
               superficially, statements attested to and “produced through the
               involvement of government officers . . . with an eye towards trial.”
               Typically, these certifications are prepared at request of and in
               concert with the government. They are, however, “a far cry from the
               threat of ex parte testimony that Crawford saw as underlying, and in
               part defining, the Confrontation Clause.” As an example of the
               historic and abusive admission of testimonial hearsay at issue in
               Crawford, the Court referred to the ex parte, extrajudicial confessions
               used to secure a death sentence in the treason trial of Sir Walter
               Raleigh in 1603. By contrast, § 3505 certifications do not contain any
               information about defendants, the relative merits of the charges
               against defendants, or any factual support for the charges. They
               simply attest to the reliability of “the procedures necessary to create
               a business record.”

Id. at 246 (citations omitted).

       The court agrees. Certifications of foreign business records are not the sort of testimonial

evidence the Confrontation Clause bars. To be sure, the custodians would reasonably expect that

their certifications would be used prosecutorially. However, a “business record certification . . .

does not serve independently as evidence in th[e] case; rather, it serves merely to lay a foundation

for the admission of business records.” United States v. Bryant, No. 3:04-CR-47-01, 2006 WL

1700107, *4 (W.D. Va. June 15, 2006) (rejecting Crawford challenge to business record certification

under Fed. R. Evid. 803(6), 902(11)). If the business records themselves are non-testimonial, see

Crawford, 541 U.S. at 56; United States v. De La Cruz, 514 F.3d 121, 133 (1st Cir. 2008), it seems

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    Case 3:08-cr-00093-FDW-DCK              Document 33        Filed 11/25/08      Page 4 of 6
illogical to conclude that the document which authenticates them is testimonial. Thus, the court

holds that the Confrontation Clause does not bar admission of the foreign business records

certifications at issue here and the foreign business records.

        Finally, in light of defendants’ reliance on Ohio v. Roberts, 448 U.S. 56 (1980), the court

finds it important to note that “Crawford overruled Roberts.” Whorton v. Bockting, 127 S. Ct. 1173,

1182 (2007).

                Under Roberts, an out-of-court nontestimonial statement not subject
                to prior cross-examination could not be admitted without a judicial
                determination regarding reliability. Under Crawford, on the other
                hand, the Confrontation Clause has no application to such statements
                and therefore permits their admission even if they lack indicia of
                reliability.

Id. at 1183. Because the court concludes that the Confrontation Clause does not apply to the

certifications here, the court is not required to determine that the certifications (or the underlying

records themselves) bear sufficient indicia of reliability. Even if reliability was required, the court

would not find it lacking based on the certifications alone. See generally United States v. Gleave,

786 F. Supp. 258, 278-79 (W.D.N.Y. 1992) (pre-Crawford) (rejecting the defendants’ attack on

affidavit accompanying foreign record certification based on illegible record custodian’s signature

and failure to specify whether the custodian swore or affirmed; “[t]he attestation by the record

custodian pursuant to § 3503(c)(2) that he will be subject to criminal liability for a false certification

affords the Records a sufficient degree of reliability.” (citation omitted)), rev’d on other grounds,

16 F.3d 1313 (2nd Cir. 1994).




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    Case 3:08-cr-00093-FDW-DCK                Document 33         Filed 11/25/08       Page 5 of 6
  The government’s motion is ALLOWED. Defendants’ motion to suppress is DENIED.

  This 25 November 2008.




                                  __________________________________
                                        W. Earl Britt
                                        Senior U.S. District Judge




                                     6


Case 3:08-cr-00093-FDW-DCK      Document 33     Filed 11/25/08   Page 6 of 6
